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  EXHIBIT D
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                                   David W. Ball
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              Field        Guide to




      Spectroscopy




                     David W Ball




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                        Volume FG08


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   28                                                          Spectroscopy

                              Other Components


   A window is an optical component whose main function
    is to separate environments or serve as a substrate, but it
   has minimal effects on
    the   spectral    character-
   istics    of    the      probing
                                                                  outgoing
    radiation.           Windows
                                                                  light
    typically       have       flat,    incoming
    parallel      surfaces.    The      light
   path of the light rays
    may     be    deflected     but
   should not be dispersed.
                                                      window
   Window         materials     can
   be     any    substance     that    does not absorb      the   light   of
   interest. Transparent materials like glass, quartz, and
   sapphire are used in visible and UV regions. Ionic crystals
   like KBr, NaCl, CalA, or KRS-5 (mixed TIBr/TH) ran be
    used for the IR region, as can diamond. Polyethylene is
   used in the far-IK. Beryllium windows are used in x-ray
   and gamma ray spectroscopy.


   A      beamsplitter           is    an       optical   beamsplitter
   component         that     allows   part     of   an
   electromagnetic beam to pass through
   and reflects Ihe resl. Beamsplitters can
   be cemented right prisms or partially
   silvered mirrors.


   A waveguide is a rectangular or cylindrical tube that
   propagates radio waves or microwaves. They are mostly
   found in magnetic resonance spectrometers. Fiber optics
   can be thought of as a waveguide for visible light.
